                           Case 22-18568-SMG                           Doc 123   Filed 06/29/23       Page 1 of 22
Fill in this information to identify the case:

Debtor Name   _R_a_c_h_e_l_A_n__n E_u_le_1_· --------------
United States Bankruptcy Court for the: Southern District of Florida

                                                                                                                      0 Check if this is an
Case number: 22-18568
             ---------                                                                                                  amended filing




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                                  12/17

Month:                 April 2023                                                                Date report filed:     06/29/2023
                                                                                                                       MM/ DD/YYYY
Line of business: ___________                                                                    NAISC code:

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:

Original signature of responsible party

Printed name of responsible party            Rachel Euler


              1. Questionnaire
    Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                            Yes        No        N/A
          If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

    1.   Did the business operate durinQ the entire reportinQ period?                                                       □          □         �
    2.   Do you plan to continue to operate the business next month?                                                        □          □         �
    3.   Have you paid all of your bills on time?                                                                           !;a        □         □
    4.   Did you pay your employees on time?                                                                                □          □         0
    5.   Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                    0          □         □
    6.   Have you timely filed your tax returns and paid all of your taxes?                                                 □          liZl      □
    7.   Have you timely filed all other required government filings?                                                       �          □         □
    8.   Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                    Ii:]       □         □
    9.   Have you timely paid all of your insurance premiums?                                                               Ii:]       □         □
         If :i:ou answer Yes to an:i: of the guestions in lines 10-181 attach an exelanation and label it Exhibit B.
    10. Do you have any bank accounts open other than the DIP accounts?                                                     □          0         □
    11. Have you sold any assets other than inventory?                                                                      □          □         liZl
    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?               □          �         □
    13. Did any insurance company cancel your policy?                                                                       □          liZl      □
    14. Did you have any unusual or significant unanticipated expenses?                                                     □           �        □
    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                 □           �        □
    16. Has anyone made an investment in your business?                                                                     □           �        □
Official Form 425C                            Monthly Operating Report for Small Business Under Chapter 11                         page 1
                             Case 22-18568-SMG             Doc 123        Filed 06/29/23           Page 2 of 22

Debtor Name   Rachel Ann Euler
              _______________________________________________________                 Case number_22-18568
                                                                                                  ____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                                     
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                                       


              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                               5,206.25
                                                                                                                             $ __________
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
        Report the total from Exhibit C here.                                                           10,634.61
                                                                                                      $ __________

    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                      - $ __________
                                                                                                          10,723.92
        Report the total from Exhibit D here.

    22. Net cash flow
                                                                                                                         +      -89.31
                                                                                                                             $ __________
        Subtract line 21 from line 20 and report the result here.
        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
        Report this figure as the cash on hand at the beginning of the month on your next operating report.              = $ 5,116.94
        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                           0.00
                                                                                                                             $ ____________

               (Exhibit E)




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                           page 2
                             Case 22-18568-SMG              Doc 123        Filed 06/29/23           Page 3 of 22

Debtor Name     Rachel Ann Euler
              _______________________________________________________                                22-18568
                                                                                         Case number_____________________________________




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                          0.00
                                                                                                                               $ ____________

               (Exhibit F)



              5. Employees

    26. What was the number of employees when the case was filed?
                                                                                                                                         0
                                                                                                                                 ____________

    27. What is the number of employees as of the date of this monthly report?                                                           0
                                                                                                                                 ____________




              6. Professional Fees
    28. How much have you paid this month in professional fees related to this bankruptcy case?                                       0.00
                                                                                                                               $ ____________

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                          0.00
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?                                                                  0.00
                                                                                                                               $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                                 0.00
                                                                                                                               $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.

    32. Cash receipts
                                           9,270.00
                                        $ ____________           –      10,634.61
                                                                     $ ____________
                                                                                               =      1,364.61
                                                                                                   $ ____________

    33. Cash disbursements
                                           8,506.00
                                        $ ____________           –      10,723.92
                                                                     $ ____________
                                                                                               =       -2,217.92
                                                                                                   $ ____________


    34. Net cash flow
                                              764.00
                                        $ ____________           –      89.31
                                                                     $ ____________
                                                                                               =
                                                                                                        853.31
                                                                                                   $ ____________


    35. Total projected cash receipts for the next month:                                                                          7,116.00
                                                                                                                                $ ____________

    36. Total projected cash disbursements for the next month:                                                                     8,506.00
                                                                                                                              - $ ____________
    37. Total projected net cash flow for the next month:
                                                                                                                              = $ -1,390.00



Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                             page 3
                          Case 22-18568-SMG                 Doc 123       Filed 06/29/23          Page 4 of 22

Debtor Name    Rachel Ann Euler
              _______________________________________________________                             22-18568
                                                                                      Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

       38. Bank statements for each open account (redact all but the last 4 digits of account numbers).


       39. Bank reconciliation reports for each account.


       40. Financial reports such as an income statement (profit & loss) and/or balance sheet.


       41. Budget, projection, or forecast reports.


       42. Project, job costing, or work-in-progress reports.




Official Form 425C                     Monthly Operating Report for Small Business Under Chapter 11                          page 4
Case 22-18568-SMG   Doc 123   Filed 06/29/23   Page 5 of 22
Case 22-18568-SMG   Doc 123   Filed 06/29/23   Page 6 of 22
Case 22-18568-SMG   Doc 123   Filed 06/29/23   Page 7 of 22
Case 22-18568-SMG   Doc 123   Filed 06/29/23   Page 8 of 22
Case 22-18568-SMG   Doc 123   Filed 06/29/23   Page 9 of 22
Case 22-18568-SMG   Doc 123   Filed 06/29/23   Page 10 of 22
Case 22-18568-SMG   Doc 123   Filed 06/29/23   Page 11 of 22
Case 22-18568-SMG   Doc 123   Filed 06/29/23   Page 12 of 22
Case 22-18568-SMG   Doc 123   Filed 06/29/23   Page 13 of 22
Case 22-18568-SMG   Doc 123   Filed 06/29/23   Page 14 of 22
Case 22-18568-SMG   Doc 123   Filed 06/29/23   Page 15 of 22
Case 22-18568-SMG   Doc 123   Filed 06/29/23   Page 16 of 22
Case 22-18568-SMG   Doc 123   Filed 06/29/23   Page 17 of 22
Case 22-18568-SMG   Doc 123   Filed 06/29/23   Page 18 of 22
Case 22-18568-SMG   Doc 123   Filed 06/29/23   Page 19 of 22
Case 22-18568-SMG   Doc 123   Filed 06/29/23   Page 20 of 22
            Case 22-18568-SMG               Doc 123       Filed 06/29/23         Page 21 of 22


                                  Banking Summary - Last month
                                            4/1/2023 through 4/30/2023
5/30/2023                                                                                        Page 1
                                                                         4/1/2023-
                                             Category                    4/30/2023


                     INCOME
                       Net Salary                                            8,767 .11
                       Other Inc                                                57 .50
                         briana's paycheck                                     743.00
                         fam ily adv repay                                     198.00
                         money owed towards a split bill                        71 .00
                         money towards grocerys                               498 .00
                         towards child care briana                             300 .00
                         TOTAL Other Inc                                     1,867.50
                       TOTAL INCOME                                        10,634.61


                     EXPENSES
                       ACCT TO ACCT TRANSFER                                     0.00
                       CABLE-INTERNET                                          380.18
                       CAR INSURANCE                                           100.00
                       car payment                                            604 .00
                       CHILD CARE                                             812 .43
                       Entertainment                                           162.43
                         Movies & DVDs                                           6.78
                         TOTAL Entertainment                                   169.21
                       FAMILY ADVANCE                                          743.00
                       Fees & Charges                                           24 .00
                       FPL                                                    258 .67
                       FUEL                                                   203 .58
                       groceries-household exps                             2 ,105.07
                       HEALTH INSURANCE                                       259 .85
                       HOME REPAIRS                                           455.00
                       LIFE INSURANCE                                          119.88
                       MEDICAL                                                503 .09
                       Misc. Expense (Business)                                  4.99
                       Personal Care                                          541 .61
                       PET CARE                                               348 .92
                          ·-···   ···-·-·    ·-·-··
                       PET INSURANCE                                          262 .76
                       PHONE                                                  525.00
                       RENT                                                 2,000 .00
                       Shopping
            Case 22-18568-SMG    Doc 123       Filed 06/29/23        Page 22 of 22


                           Banking Summary - Last month
                                 4/1/2023 through 4/30/2023
5/30/2023                                                                            Page 2
                                                              4/1/2023-
                                  Category                    4/30/2023
                         Clothing                                  157.01
                         TOTAL Shopping                            157.01
                       WATER                                       145.67
                       TOT AL EXPENSES                          10,723.92


                     OVERALL TOTAL                                  -89.31
